Case 2:05-cr-20176-.]DB Document 12 Filed 06/02/05 Page 1 of 2 PagelD 14

 

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uNlTED sTATEs or= AMERch, §§th wl retires
Praintifr,
vs.
cR. No. 05-20176-3
cuRTls wll_l_l/-\lvls,
Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of |\llonday, duly 25. 2005. at 9:30 a.m., in Courtroom 1, 11th F|oor of the
Federal Building, lVlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) becausethe ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy trial.
|T lS SO ORDERED this § day ne, 2005.

. D NIEL BREEN
UN| ED STATES D|STR| T JUDGE

this document entered on the docket sheet,in coppliance
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with Hu|e 55 and/or 32(b) FFlCrP on t Q ' S’O §

     

UNITED sTATE D"ISIC COURT - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20176 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

